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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

              v.                                  C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


               NOTICE OF APPEARANCE OF TOBIAS W. CRAWFORD

       Please enter the appearance of Tobias W. Crawford on behalf of the Defendants,

MACOM Technology Solutions Holdings, Inc. and MACOM Technology Solutions Inc., in the

above referenced case.

                                           MACOM TECHNOLOGY SOLUTIONS
                                           HOLDINGS, INC. and MACOM
                                           TECHNOLOGY SOLUTIONS INC.,

                                           By their attorneys,

                                           /s/ Tobias W. Crawford
                                           C. Max Perlman (BBO No. 630395)
                                               max@hrwlawyers.com
                                           Tobias W. Crawford (BBO No. 678621)
                                               tcrawford@hrwlawyers.com
                                           HIRSCH ROBERTS WEINSTEIN LLP
                                           24 Federal Street, 12th Floor
                                           Boston, Massachusetts 02110
                                           (617) 348-4300

Dated: June 7, 2018
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ Tobias W. Crawford
                                              Tobias W. Crawford




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